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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    ABDIWALI MUSSE,                                      CASE NO. C18-1736-JCC
10                           Plaintiff,                    MINUTE ORDER
11               v.

12    WILLIAM HAYES, et al.,

13                           Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ request for the Court to hear an
18   expedited telephonic discovery motion pursuant to Local Civil Rule 7(i) and the Court’s order
19   regarding discovery and depositions (Dkt. No. 7). The Court understands that there is a dispute
20   about whether a deposition must occur. The parties are DIRECTED to file simultaneous briefs of
21   no more than three pages setting forth their positions by Tuesday, November 10, 2020. If the
22   Court concludes that a telephonic conference is necessary, the Courtroom Deputy will contact
23   the parties. If not, the Court will decide the issue promptly based on the briefing.
24          //
25          //
26          //


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 1        DATED this 6th day of November 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
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                                                 Deputy Clerk
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